                Case 24-12363-CTG         Doc 246-2      Filed 12/13/24     Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                   Chapter 11

 Fluid Market, Inc., et al.,                              Case No. 24-12363 (CTG)

                          Debtor(s).                      (Jointly Administered)



                DECLARATION IN SUPPORT OF CREDITOR’S MOTION FOR
                  AN ORDER MODIFYING STAY AND PLAN INJUNCTION

          I, Mark A. Rouse, Esq., of full age, hereby certifies, under penalty of perjury, as follows:

          1.     I make this declaration in support of Creditor’s Motion for an Order Modifying

Stay (the “Motion”).

          2.     I have personal knowledge of the factual averments set forth herein, and if called

upon to do so, I could and would appear before the Court and competently testify to the truth

thereof.

          3.     I am an attorney, licensed to practice law in Nevada.

          4.     I represent creditor, Abel Gurrola-Martinez (hereinafter “Creditor”).

          5.     Creditor has pre-petition personal injury, negligence, and breach claims against the

Debtor(s), and others.

          6.     Creditor filed a lawsuit in the District Court, Clark County Nevada styled as

Gurrola-Martinez v. Williams, et al. – Case No. A-24-904371-C, Dept. No. 3.

          7.     Upon information and belief, the Debtor(s) are insured for Creditor’s claims

thereagainst.

          8.     Upon information and belief, on October 16, 2024 (the “Petition Date”), the above-

captioned debtors (each a “Debtor,” and together the “Debtors”) filed voluntary petitions for relief
             Case 24-12363-CTG           Doc 246-2     Filed 12/13/24   Page 2 of 2




under chapter 11 of the Bankruptcy Code, thereby initiating the above-captioned chapter 11 case

(the “Chapter 11 Case”).

       9.      Creditor is ready to proceed with his legal action, and needs the bankruptcy stay

and any plan injunction modified accordingly. Modification of the stay and any plan injunction,

as proposed in the Motion, is necessary to prevent extreme prejudice to Creditor. If the stay and

any plan injunction is not modified Creditor’s pursuit of justice of his claims, including claims

against non-debtor entities, will be indefinitely stopped from moving forward.

       10.     For the reasons set forth in the Motion, which are fully incorporated herein by

reference, Creditor respectfully requests the entry of an Order modifying the stay and any plan

injunction, and granting Creditor authority to proceed with his legal action against the Debtor(s),

as nominal parties only, and to proceed to collect any judgment or settlement obtained solely

against available insurance proceeds.

       Pursuant to 28 U.S.C. § 1746, I hereby certify, under penalty of perjury, that the foregoing

statements made by me are true and correct. I am aware that if any of said statements are willfully

false, I am subject to the penalties of perjury.


Dated: December 12, 2024                       /s/ Mark A. Rouse
                                               MARK A. ROUSE, ESQ.




                                                   2
